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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


                                           )
FEDERAL TRADE COMMISSION,                  )
                                           )
                 Plaintiff,                ) Case No. 07 C 3155
                                           )
           v.                              )
                                           )
IFC CREDIT CORPORATION,                    ) Magistrate Judge Cole
                                           )
                 Defendant.                )
                                           )



                 FTC’S MOTION FOR SUMMARY JUDGMENT
                 AND SUPPORTING MEMORANDUM OF LAW
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I.        INTRODUCTION
          The Federal Trade Commission (“FTC” or “Commission”) hereby moves for summary
judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure. Mindful of the Court’s
admonition to carefully assess whether there are genuine issues of material fact and whether the
moving party is entitled to judgment as a matter of law prior to filing a motion for summary
judgment, the FTC argues that the operative facts of this case are not in controversy, even if the
legal meaning to be ascribed to those facts remains hotly contested. Even a grant of partial
summary judgment would limit the issues for trial and focus the parties on the clear disputes.
          The FTC alleges that defendant IFC Credit Corp. (“IFC”) purchased and collected on
NorVergence equipment rental agreements with knowledge that the rental agreements misstated
the consideration and were procured by deceiving consumers, typically relatively
unsophisticated small businesses and nonprofits. This caused substantial injury to consumers,
which was not reasonably avoidable by the consumers themselves, and is not outweighed by
countervailing benefits to consumers or competition; thus the practice is unfair in violation of
Section 5 of the FTC Act, 15 U.S.C. §§ 45(a) and (n). The FTC also alleges as unfair IFC’s
practice of suing consumers on these rental agreements in distant forums. Finally, the FTC
alleges that IFC falsely represented to consumers that they had no legal defenses to IFC’s
enforcement effort, and that consumers were obligated to pay because they engaged in fraud or
misrepresentation when they signed a form accepting delivery of the equipment. IFC’s
misrepresentations are deceptive and violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
The FTC’s complaint was brought pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b),
which authorizes the Court to impose permanent injunctive and other equitable relief to remedy
violations of Section 5 of the FTC Act.
II.       BACKGROUND
          IFC purchased almost 800 equipment rental agreements from now-defunct
telecommunications services provider NorVergence between November 2003 and June 2004,
when NorVergence was forced into bankruptcy. [SJ Facts 4, 6] As Judge Easterbrook has
described,
          NorVergence sold telecommunications equipment and services – or claimed to do
          so. After three apparently flourishing years it collapsed. The supposedly
          wondrous equipment it sold or rented, which it called a Merged Access Transport

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       Intelligent Xchange (MATRIX) device, turned out to be a standard integrated-
       access box with none of the benefits that NorVergence had touted.
IFC Credit Corp. v. United Bus. & Indust’l Fed. Credit Union, 512 F.3d 989 (7th Cir. 2008).
The NorVergence equipment rental agreements were signed by consumers who thought they
were applying to purchase a combined package of telecommunications services and equipment.
[SJ Facts 9, 14] NorVergence promised consumers that the combined package would deliver
savings of 20% to 60% on their monthly telecommunications bills, guaranteed for five years.
[SJ Fact 8] Part of the “savings solution” NorVergence pitched was the “Matrix” box that
hooked the consumer’s existing phone lines into a T-1 line, purportedly providing unlimited
telephone and internet services for a guaranteed flat rate. [SJ Fact 10] Consumers were told that
the Matrix box was “carrier neutral” and that they would receive the promised savings on their
telecommunications services even if NorVergence went out of business. [SJ Fact 11] These
representations were false. The Matrix boxes worked only through NorVergence, and when
NorVergence stopped providing services in July 2004, the boxes were worthless to consumers.
[SJ Facts 7, 48]
       NorVergence produced a “savings analysis” for each consumer based on the consumer’s
past phone bills and current telecommunications needs. [SJ Fact 12] The savings analysis
showed a bottom line monthly payment that was substantially less than the consumer’s current
payment and sometimes included additional services like cell phones or Internet connectivity.
[SJ Fact 12] Consumers had to apply for the promised telecommunications savings package by
signing multiple, confusing documents, including a services application, a hardware application,
the equipment rental agreement, a credit application, and other documents. [SJ Facts 15-18]
NorVergence salespeople assured consumers that signing these documents was just a first step in
the application process, and that nothing was binding. [SJ Fact 22]
       Buried in this set of non-binding documents was the equipment rental agreement for the
Matrix box. [SJ Facts 15, 18] Unlike the other documents in the consumers’ application
packages, and again contrary to the salespersons’ representations and the consumers’
understanding of the transaction, the rental agreement purported to be binding and unrelated to
the other agreements the consumers were signing. [SJ Fact 19] The rental agreement presented
to consumers for their signature did not describe the specific equipment to be provided to the


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consumer, stating in the “equipment description” box of the form only the word “Matrix”
(omitting any mention of network cards, phones, or other equipment). [SJ Fact 20] On the back
page, in fine print, were a non-cancellability clause and various waivers of defenses. [SJ Fact
18] The rental agreement stated that the only consideration for consumers’ payments was the
equipment, even though the cost of the rental far exceeded the value of the equipment and the
extra amount was obviously intended to cover the costs of the services promised to consumers.1
[SJ Facts 18, 45, 46] Consumers had relied on the promise of discounted telecommunications
services in agreeing to the deal. [SJ Fact 14] Also included in the rental agreement form was a
personal guarantee that made the individual signing the document personally liable for payment
in the event of default. [SJ Fact 18] More than 70% of the rental agreements purchased by IFC
included this personal guarantee. [SJ Fact 93]
         When NorVergence delivered the Matrix box – long before it was to be connected to any
phone lines – consumers signed a “Delivery and Acceptance” form provided to them by the
NorVergence delivery person. [SJ Fact 40] Consumers believed they were signing a receipt
accepting delivery of the goods, just as they routinely sign receipts for FedEx, UPS, or other
delivered items. [SJ Fact 41] The delivery form, however, included the statement, “The
Equipment conforms with our requirements.” [SJ Fact 40] Of course, at this time the Matrix
box was not connected, and no services had been received. [SJ Fact 39] It was not possible for
any consumer to know that the equipment conformed with anything. [SJ Fact 42]
         Shortly after consumers took delivery of the Matrix box, an IFC verifier called them to
make sure that they had received the equipment. [SJ Fact 77] IFC, which used the verification
script provided by NorVergence, rather than its standard script, did not ask if the Matrix box was
connected to the consumer’s phone system, or otherwise providing services, but only asked if the
box was “mounted,” meaning that it was screwed to the wall. [SJ Facts 77, 78] During this call,
the IFC verifier expressly stated that the consumer’s monthly payments would produce the five
years of savings promised by NorVergence. [SJ Fact 77]




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   The rental agreement amount ranged from 5 to 92 times the actual cost to NorVergence of the
equipment rented. [SJ Fact 45]

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       Ultimately, consumers did not receive the telecommunications services for which they
had bargained. [SJ Facts 6, 47] Despite this failure of consideration, IFC has already collected
more than $4 million on the rental agreements and is currently collecting additional amounts.
[SJ Fact 94]
       IFC bought the equipment rental agreements from NorVergence knowing that the
agreements described the consideration for the agreement as the Matrix box alone, even though
the agreements charged the consumers amounts far greater than the cost of the equipment itself,
and knowing that consumers were expecting to receive discounted telecommunications services
for the agreed-to payments. [SJ Facts 53-62] This key deception about the rental agreements
allowed IFC to try to collect on them even after the promised phone services stopped for good.
        NorVergence was forced into bankruptcy in June 2004 and, for any NorVergence
customers who ever had service, it was turned off before August 1, 2004. [SJ Fact 6] IFC
continues to collect on the rental agreements it purchased, forcing consumers to pay for a
worthless piece of equipment while they receive none of the contracted services. [SJ Fact 94]
Consumers who refuse to pay for services they are not receiving have been sued by IFC, often in
a distant forum, causing these consumers either to incur additional expense to defend themselves
or to suffer a default judgment. [SJ Facts 84, 85, 87] This is a particular hardship for the
nonprofits and small businesses victimized by NorVergence, and for the individual consumers
who signed personal guarantees for the rental agreements. [SJ Facts 93, 95]
III.   LEGAL STANDARDS
       A.      Standard for Summary Judgment
       Summary judgment is proper when “the pleadings, the discovery and disclosure materials
on file, together with the affidavits, show that there is no genuine issue as to any material fact
and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56 (c). Material
facts are facts that “might affect the outcome of the suit” under the applicable substantive law.
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Summary judgment is not a
disfavored procedural shortcut, but rather is “an integral part” of the judicial system. Celotex
Corp. v. Catrett, 477 U.S. 317, 327 (1986). The Court must view the facts and draw reasonable




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inferences in the light most favorable to the party opposing the motion. Iron Workers Tri-State
Welfare Plan v. Carter Construction, Inc., 2008 U.S. Dist. LEXIS 3995 at *15-16 (N.D. Ill., Jan.
18, 2008) (citing Scott v. Harris, 550 U.S. –, 127 S. Ct. 1769, 1774-1775, 167 L. Ed. 2d 686
(2007)).
         B.     Unfair Acts or Practices under the FTC Act
         Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits unfair or deceptive acts or
practices in or affecting commerce. An act or practice is “unfair” if it causes or is likely to cause
substantial injury to consumers which is not reasonably avoidable by consumers themselves and
not outweighed by countervailing benefits to consumers or to competition. 15 U.S.C. § 45(n);
FTC Unfairness Statement (1980) (appended to In re International Harvester Co., 104 F.T.C.
949, 1070 (1984), 1984 FTC LEXIS 2, *305) (hereafter “FTC Unfairness Statement”).2 The
Commission has used its unfairness authority previously to assist classes of consumers injured
by a company’s systematic contract law violations. See Orkin Exterminating Co. v. FTC, 849
F.2d 1354 (11th Cir. 1988). The FTC can show substantial injury by, among other things,
establishing that consumers were injured by a practice for which they did not bargain. Orkin,
849 F.2d at 1364-65. Injury is sufficiently substantial if it causes a small harm to a large class of
people, FTC v. Windward Mktg, Ltd., No. 1:96-CV-615-FMH, 1997 U.S. Dist. LEXIS 17114 at
*31-32 (N.D. Ga. Sept. 30, 1997), or a severe harm to a limited number of people, International
Harvester, 104 F.T.C. at 1064. The second prong of the unfairness test focuses on whether the
consumers had a free and informed choice that would have enabled them to avoid the unfair
practice. FTC v. J.K. Publications, Inc., 99 F. Supp. 2d 1176, 1201 (C.D. Cal. 2000). Finally,
the third prong of the unfairness standard measures the adverse consequences of the practice to
consumers against any benefits to consumers or competition. Windward Mktg., 1997 U.S. Dist.
LEXIS 17114 at *32 (citing Orkin, 849 F.2d at 1365). See also American Fin. Servs. Ass’n. v.
FTC, 767 F.2d 957, 975 (D.C. Cir. 1985).




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   Defendants have argued elsewhere that the businesses and nonprofits victimized by NorVergence and
IFC are not protected by the FTC Act. This is not the case; the FTC Act is not limited in its application to
transactions involving the sale of consumer goods and services. The Commission has fully briefed this
issue in response to IFC’s Motion to Dismiss, filed on July 25, 2007. [Docket # 47]

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         Additionally, the unfairness standard, focusing as it does upon consumer injury, does not
require the court to take into account the mental state of the party accused of a Section 5
violation. “The purpose of the Federal Trade Commission Act is to protect the public, not
punish the wrongdoer.” Regina Corp. v. FTC, 322 F.2d 765, 768 (3d Cir. 1963). Consequently,
the “Commission has traditionally focused on the effects of conduct in order to afford the most
protection possible for the public.” In re International Harvester, 104 F.T.C. at 1085. A
practice may be found unfair to consumers without a showing that the offending party intended
to cause consumer injury. Orkin, 849 F.2d at 1368.
         C.     Deceptive Acts or Practices under the FTC Act3
         An act or practice is “deceptive” under Section 5 if there is a representation, omission, or
practice that is likely to mislead consumers acting reasonably under the circumstances and if that
representation, omission, or practice is material to the consumer’s payment decision. FTC v.
Bay Area Bus. Council, Inc., 423 F.3d 627, 634-35 (7th Cir. 2005); FTC v. World Travel
Vacation Brokers, Inc., 861 F.2d 1020, 1029 (7th Cir. 1988). Reasonable consumers are not
required to doubt the veracity of express representations, and the Court may presume express
claims to be material. Kraft, Inc. v. FTC, 970 F.2d 311, 322 (7th Cir. 1992); FTC v. Pantron I
Corp., 33 F.3d 1088, 1095 (9th Cir. 1994). Consumers’ reliance on express claims is
presumptively reasonable. FTC v. World Media Brokers, Inc., No. 02 C 6985, 2004 U.S. District
LEXIS 3227, at *24-25 (N.D. Ill. March 2, 2004). Implied claims are presumptively material
where there is evidence that the seller intended to make the claims, Kraft, 970 F.2d at 322, or the
claims go to the heart of the solicitation or the characteristics of the product or service offered.
In re Southwest Sunsites, Inc., 105 F.T.C. 7, 149, 1980 FTC LEXIS 86, *328 (1985), aff’d, 785
F.2d 1431 (9th Cir. 1986).




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   The D.C. Circuit has distinguished the rationales supporting deception and unfairness: “A practice is
deceptive when the consumer is forced to bear a larger risk than expected (e.g., the consumer is misled)
whereas a practice is unfair when the consumer is forced to bear a larger risk than an efficient market
would require.” American Fin. Servs. Ass’n., 767 F.2d at 980. This case involves an interplay between
these two legal constructs.

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IV.    NO GENUINE ISSUE OF MATERIAL FACT PRECLUDES SUMMARY
       JUDGMENT FOR THE FTC
       A.   IFC’s Unfair Collections Practices
       The heart of the FTC’s case rests on Count II of the complaint, which alleges that IFC’s
practices in accepting and collecting on the NorVergence equipment rental agreements cause or
are likely to cause substantial injury that is not reasonably avoidable by consumers themselves
and not outweighed by countervailing benefits to consumers or competition, and are thus unfair.
While the legal significance to be accorded the facts may be sharply contested, the facts
establishing IFC’s unfair practices and their injurious effects are undisputed.
               1.      IFC’s Practices Cause Substantial Injury
       IFC’s practice of accepting and then aggressively collecting on rental agreements
procured through deception substantially injures consumers. Consumers are either paying IFC
for services they will never receive, or spending time and money litigating against IFC. [SJ
Facts 6, 84-86, 94, 95] Such economic harm constitutes substantial injury for purposes of FTC
unfairness law. See, e.g., Windward Mktg., 1997 U.S. Dist. LEXIS 17114 at *9, *37-38
(unauthorized debit of $297.96 from consumer’s bank account constituted substantial injury).
The economic harm here is not trivial. Because of an acceleration clause in the rental
agreement, IFC sues defaulting consumers for the total payments due over the life of the 60-
month agreement, for sums ranging from $10,000 to $160,000. [SJ Facts 18, 57]
       Few businesses can readily afford to pay an expense as great as the accelerated amount
IFC seeks to collect on the rental agreements while getting nothing in return. For the religious
organizations and other nonprofits who were victims of NorVergence’s deception, the financial
consequences of paying IFC for nothing are especially harmful. Every dollar sent to IFC
represents a dollar not available to spend on program services like sending disadvantaged girls to
camp, providing food, shelter and clothing for elderly homeless people, or supporting children’s
and youth ministries. [SJ Fact 95]
       Consumers who personally guaranteed the rental agreements and the small businesses
they own also suffer from paying thousands of dollars for services never provided. [SJ Facts 93,
95] For example, like most of the business owners victimized by IFC, Randall Spicher, owner of
a start-up sign-making company in Sugar Land, Texas, provided a personal guarantee for the
rental agreement. [SJ Facts 93, 95] His company never received services promised by

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NorVergence, but has since been sued by IFC for $16,907.69. He feared that a judgment against
him by IFC would devastate the business in which he invested most of his life savings and
probably wipe out the balance of his retirement funds. [SJ Fact 95]
               2.     Consumers Cannot Reasonably Avoid the Injury
       Consumers cannot reasonably avoid the substantial injury caused by IFC’s practice of
collecting on rental agreements procured by deception. At the most immediate level, consumers
cannot avoid IFC’s collection efforts and the resulting economic harm. They can pay IFC, pay a
default judgment incurred by ignoring IFC, or pay an attorney to defend against an IFC lawsuit,
but pay they do. [SJ Facts 84, 85, 87] When they pay, they are paying for a now-worthless
piece of equipment best described by an IFC official as “an overpriced bookend.” [SJ Fact 49]
       Consumers also could not reasonably have avoided the underlying deception that led
them to sign the equipment rental agreement and the delivery and acceptance certificate.
Deceptive practices like those engaged in by NorVergence prevent consumers from making fully
informed decisions. Such practices were explicitly contemplated by the Commission in
formulating its unfairness policy statement. As the Commission explained:
       Normally we expect the marketplace to be self-correcting, and we rely on
       consumer choice – the ability of individual consumers to make their own private
       purchasing decisions without regulatory intervention – to govern the market. We
       anticipate that consumers will survey the available alternatives, choose those that
       are most desirable, and avoid those that are inadequate or unsatisfactory.
       However, it has long been recognized that certain types of sales techniques may
       prevent consumers from effectively making their own decisions, and that
       corrective action may then become necessary. Most of the Commission's
       unfairness matters are brought under these circumstances. They are brought, not
       to second-guess the wisdom of particular consumer decisions, but rather to halt
       some form of seller behavior that unreasonably creates or takes advantage of an
       obstacle to the free exercise of consumer decisionmaking.

FTC Unfairness Statement, 104 F.T.C. at 1070, 1984 FTC LEXIS 2 at *310.
                    “Equipment Rental and Service Goes Hand-in-Hand”
       Here the sales practices of NorVergence prevented consumers from making fully
informed decisions. Consumers had no reason to expect – or suspect – that the documents they
signed would not reflect the deal as it was described to them. That deal was for phone services,
not equipment rental. [SJ Facts 14, 35] The entire sales pitch focused on a single package of


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phone and Internet services plus equipment that together provided the promised savings. As one
Novergence brochure touted: “Our one-stop solution addresses all of your telecommunications
needs and bundles them into an easily managed package that keeps your company on the leading
edge of technology.” [SJ Fact 9] Neither the equipment nor the services could be ordered
separately from the other. [SJ Fact 9] As one salesperson explained:
         The equipment rental and service goes hand-in-hand. They are not separate.
         Otherwise it is – it’s misleading the customer to make them think that a company
         would have them lease equipment for no reason. That – that just – that would be
         bad practice. So nobody in their right mind would accept something like that.
         [SJ Fact 9]
          Understanding the transaction to be for phone services, consumers assessed the financial
risk differently than they would a purchase of equipment, reasonably believing that, like any
other purchase of services, if the company stopped providing the services, they would no longer
have to pay. [SJ Facts 14, 33, 35] This was a reasonable assumption – neither top IFC officials
experienced in the leasing business and knowledgeable about the rental agreement’s terms nor
NorVergence salespeople believed that consumers would have to pay for five years of phone
services they did not receive. [SJ Fact 34] Additionally, because the consumers believed
themselves to be signing up for monthly phone service – not a transaction for which an
attorney’s advice is normally necessary – they typically did not have the documents reviewed by
an attorney. [SJ Facts 14, 35, 36]4
                     “The Term Non-Binding Was a Big Part of Our Speech”
         The NorVergence Training Manual and the testimony of NorVergence salespeople and
consumers establish that the sales process itself was designed to mislead – and did in fact
mislead – consumers about the significance of the documents they were signing. [SJ Facts 22-
30] Consumers were told that they were signing a non-binding application for phone services


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    While certainly creating steady employment for attorneys, the cost to small businesses and nonprofits
of a policy that requires legal review of every purchase of services to avoid being tricked or deceived
would seriously affect commerce as we know it. Consumer protection laws exist, at least in part, to
require truthful dissemination of information about the purchase of goods and services so that consumers
may make informed choices, and not be caught by a legal game of “gotcha.” That is why the law rightly
allows consumers in the market-place to rely on the express claims of sellers. See, e.g., Kraft, Inc. v.
FTC, 970 F.2d at 322 (7th Cir. 1992) (reasonable consumers not required to doubt the veracity of express
representations).

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and that there was no obligation. [SJ Facts 22, 23, 26, 27, 28, 30] As one salesperson explained,
“The term non-binding was – was something that we reiterated time and time again. That was a
big part of our speech.” [SJ Fact 24] The signing process was described to consumers as
necessary “to reserve the unlimited calling facilities with a nonbinding services and hardware
application . . . . Now these applications serve as a reservation only until, final approval is
granted.” [SJ Fact 22]
       Training materials specifically instructed salespeople not to describe the documents as a
contract, but instead to refer to them as an application. [SJ Fact 23] According to the Training
Manual, customers were told that even after signing all of the opening and closing paperwork
there was no obligation. [SJ Fact 27] The “optional calm down” section of the closing script
focused on the fact that the documents being signed were not binding, ending with the reminder,
“Again, you are under no obligation until you are approved and receive final installation.” [SJ
Fact 28] Although described as “optional,” NorVergence salespeople routinely used this “calm
down” statement with consumers. [SJ Fact 28]
       “Non-Binding” was also a big part of the title of the “MATRIX T1 Non-Binding
Hardware Application” and the “MATRIX T1 Non-Binding Services Application,” two of the
documents that consumers signed. [SJ Facts 16, 17] Reading beyond the title of the Non-
Binding Hardware Application would still not have suggested to consumers that they were
signing binding documents. The Hardware Application described the equipment rental
agreement as non-binding and reiterated in numerous places that “mutual consent” was
necessary and that all parties must agree to move forward. [SJ Fact 16] The Non-Binding
Services Application likewise reiterated that it was non-binding until “all parties agree to move
forward” and “final consent of all parties to move forward.” [SJ Fact 17]
       The equipment rental agreement was part of the package of application documents. [SJ
Facts 15, 18] One salesperson described the rental agreement form as being “designed to be slid
in without the customer really realizing what they are signing. . . . So, the customer didn’t fully
understand it, they just thought that they were filling out an application.” [SJ Fact 25] At the
time the consumer signed, the copy of the equipment rental agreement did not specifically
describe all the equipment that was being provided; the form typically just noted, in preprinted



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type, “Matrix.” [SJ Facts 20, 21]5 Sometime after the consumers signed the rental agreement
NorVergence added in a complete description of the specific equipment covered by the
agreement. [SJ Fact 21]
         Consumers corroborate these sales practices. As consumer Alicia Wengert described,
“She [the NorVergence salesperson] told me that none of these papers were binding until we had
service and we were satisfied. She said we were under absolutely no obligation, and she even
showed me one paper that said neither party is under any obligation.” [SJ Fact 30]
                                       “If You Snooze You Lose”
         NorVergence salespeople were also trained to create a sense of urgency in the application
process. [SJ Fact 31] Salespeople were prohibited from returning to a business after the
documents were signed, and told consumers that they must sign the application documents or
lose the opportunity to take advantage of the promised deal. [SJ Fact 31] The Pricing and
Savings Guarantee Certificate stated that savings proposals could “only be generated once,” and
“were not subject to change.” [SJ Fact 29] The specifics of the deal were always non-
negotiable. [SJ Fact 13]
         Consumer testimony confirms this: “I was told that there was a limited amount of time,
that they could not come out and offer this to me again, and that I could not apply again, and if I
wanted to be considered for this program, because there was such tremendous desire to be in this
program, that I had to sign right then and there. They would not come out again.” [SJ Fact 32]
Consumer Stuart Perlitsh explained that he did not carefully read all the documents because
there was not enough time. “Pavel told me time was of the essence, basically. If you snooze,
you lose. He had other businesses that he was soliciting and they did not have unlimited matrix
boxes to dispense. So we had to act quickly.” [SJ Fact 32] Based on the representations that the
consumers were signing a non-binding application, consumers reasonably believed, in most




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   This fact played a crucial role for the court in IFC Credit Corp. v. Burton Industries, Inc., 2007 U.S.
Dist. LEXIS 46580 (N.D. Ill., June 25, 2007) . There, the court found that because the rental agreement
signed by the consumer did not identify the equipment to be rented it was too indefinite to constitute a
binding contract. Id. at *8-9.

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instances, that it was unnecessary to carefully read the fine-print in all the application
documents.6 [SJ Facts 30, 32, 33, 36-38]
         NorVergence salespeople were trained to overcome objections to signing the application
documents. [SJ Fact 26] For consumers who questioned the five-year term, the FAQ script
specifically reiterated that:
         The application is completely non-binding for both you and them serving as
         nothing more than a Good Faith reservation on your part, stating that while your
         company agrees to take a closer look it’s willing to stand in line so that we can
         perform the due diligence required of us. Only until final approval is granted and
         mutual consent given to move forward will they provide you with the matrix
         solution. [SJ Fact 26]

Any concerns about the possibility of NorVergence going out of business were responded to
with the explanation that the technology was “carrier neutral,” and that savings were guaranteed
to continue with or without NorVergence. [SJ Fact 11]
                                           Just Like FedEx
         Consumers also acted reasonably when they signed the delivery and acceptance
certificate without careful scrutiny. The form was presented to them by the person delivering the
Matrix box to their premises, and they were asked to sign for the receipt of the equipment, just as
they routinely sign for any other items delivered to them. [SJ Facts 39, 40, 41] At that time, the
box was not connected to the consumer’s phone system and no services were being provided.
[SJ Fact 39] One consumer explained that he signed the delivery certificate as he normally
signed for any other package: “Just as when we receive packages from UPS or Federal Express,
they usually have a receipt for them or sign a receipt indicating that we've received the package.
The package could be an empty box, but they have us sign for receiving it.” [SJ Fact 41]
         The text of the certificate included warranties that went beyond the typical delivery
receipt, including the statement “The Equipment conforms with our requirements.” [SJ Fact 40]
Because the box was not yet connected to the consumers’ phone systems, and they were not
receiving any services, consumers had no reason to believe that their signature on the delivery

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    As noted above, even had the consumers read the documents, the repeated representations that the
documents were not binding or final until “mutual consent” of all parties might well have caused them not
to understand that they were, at that moment in time, signing a contract, noncompliance with which
would lead to collections and a lawsuit by a finance company like IFC. [SJ Facts 16, 17]

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certificate suggested that they had evaluated the performance of the Matrix box, or that it was
working as promised. [SJ Facts 39, 41] As consumer Perlitsh explained, “That was not what I
was signing for. I understood this to be signing for the delivery of the product, but I certainly
couldn't represent if the product delivered conformed with our requirements. That was not what
I believed I was signing.” [SJ Fact 42]
                                    No Free and Informed Choice
         Consumers, who were not experts in either telecommunications technology or equipment
leasing [SJ Facts 37, 38], were entitled to rely on the express claims of the NorVergence
salespeople without being experts themselves. World Travel, 861 F.2d at 1029. They also could
not reasonably have expected that NorVergence would fail to deliver the promised services, or
that IFC would then try to collect from them for services they never received. [See generally SJ
Fact 34, 35] The sentiments of consumer Perlitsh colloquially express this:
Q:       Did anybody from NorVergence ever tell you that you might have to pay on an
         equipment lease every month for five years whether you got any phone services or not?

A:     No. That was never communicated to me, and clearly I would never have signed a
       contract if I knew I was going to be on the hook for worthless merchandise. I might be
       crazy but I'm not stupid.
[SJ Fact 33]
         The NorVergence misrepresentations prevented a “free and informed choice” about the
risks and benefits of pursuing NorVergence’s “savings solution” and signing the application
documents. Under these circumstances, consumers could not reasonably have avoided the injury
that was ultimately caused by their signing the equipment rental agreement. See FTC v. J.K.
Publications, Inc., 99 F. Supp. 2d 1176, 1201 (C.D. Cal. 2000). See also FTC Unfairness
Statement.7




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   The argument that, under these circumstances, consumers could not reasonably have avoided the
injury is not inconsistent with well-established law holding parties responsible for knowledge of contracts
they sign. See generally Davis v. G.N. Mortgage Corp., 396 F.3d 869, 882 (7th Cir. 2005). From the oral
descriptions of the documents as “non-binding applications” to the language of many of the documents
representing that the deal would not go forward until final approval of the parties, consumers could not
reasonably have known that they were signing an immediately binding and enforceable contract that
demanded careful scrutiny.

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               3.      Injury Not Outweighed by Countervailing Benefits
       The substantial injury to consumers caused by IFC’s practices – purchasing and
collecting on NorVergence rental agreements while knowing that the agreements misstated the
consideration and were procured by deception – is not outweighed by any countervailing
benefits to consumers or competition. In assessing IFC’s conduct under the countervailing
benefits prong, the fact that it knew, or reasonably should have known, that the contracts
misstated the consideration and were procured by deception sets its conduct apart from
legitimate leasing transactions. Allowing IFC to collect on the contracts it procured with such
knowledge harms rather than benefits both consumers and competition because it transfers funds
from victims of deception to a party that both knew of the deception and sought to profit from it.
                        IFC’s Knowledge of the Deceptive Sales Practices
       Prior to purchasing any NorVergence rental agreements, IFC understood that
NorVergence was selling a complete package of telecommunications services, not just renting
equipment. [SJ Fact 53] NorVergence gave IFC consumer sales materials stating that
NorVergence was “Drastically Reducing Technology Costs” through a “one-stop solution [that]
addresses all of your telecommunications needs and bundles them into an easily managed
package.” [SJ Fact 53] A top IFC official explained that IFC understood that NorVergence
provided customers with a series of telecommunications solutions including cell phones, long
distance and local calling: “This was supposedly a total solution to the customer.” [SJ Fact 53]
IFC knew that the services and equipment were presented to consumers as part of a single
program. [SJ Facts 54, 55] For the equipment to be of value, service must be provided through
a T-1 phone line, and IFC knew that consumers expected to receive these services. [SJ Facts 43,
49, 55, 56, 74, 77, 81, 82]
       IFC also knew, from the information NorVergence provided it, that much of what
consumers were agreeing to pay under the rental agreements was intended as consideration for
services and that only a third to half of the package was hardware while the rest was services,
installation, and maintenance. [SJ Fact 54] Documents provided to IFC showed that rental
agreements for a single piece of hardware could range in price from $10,000 to at least
$160,000. [SJ Fact 57] IFC also reviewed NorVergence’s financial statements, which showed,
among other things, that its revenues were seven times the costs of goods sold. [SJ Fact 58]

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Thus, the cost of the equipment was a small part of NorVergence’s costs. Finally, the savings
analysis document presented to consumers, a sample of which was provided to IFC, showed that
nearly 80% of total consumer payments were allocated to the equipment rental agreement. [SJ
Fact 59]8 From these documents, it appears that most of NorVergence’s revenues came from the
equipment rental agreements, while only a small portion of its costs went to purchasing the
equipment. This could only make sense if the rental agreement payments were predominantly
consideration for services. From these documents, IFC should have recognized that the cost of
the box was not driving the cost of the rental agreement. [SJ Fact 61]
         That services and equipment rental were understood to be a single package by consumers
was confirmed by IFC’s plan to use consumers’ expectation of services to ensure it got paid. [SJ
Facts 62, 63] NorVergence assured IFC that, if consumers did not pay IFC under the rental
agreements, NorVergence would cut off their services. [SJ Fact 62] As IFC’s VP for Credit,
Steve Csar, observed: “The schpiel is that we are replacing other costs with a less expensive
alternative . . . and if they don’t pay we can turn off their phone and Internet service.” [SJ Fact
62] This was so important to IFC that it negotiated an amendment to its agreement with
NorVergence that required NorVergence to do just that. [SJ Fact 63] Despite this understanding
between NorVergence and IFC about the consequences of defaults by consumers, the rental
agreement did not provide for any such cut off of service. [See SJ Fact 18] This was one more
way that IFC was on notice that the rental agreement did not stand on its own.
         To the extent IFC asked NorVergence to explain apparent oddities with respect to pricing
or consumers’ understanding of the deal, the answers it received, taken together with the
information it already had, did not add up. Moreover, IFC admits that, prior to acquiring rental
agreements from NorVergence, it did not do any independent evaluation of the function and
value of the Matrix equipment. [SJ Facts 64, 66, 67] This failure to investigate was, in the
words of IFC’s credit VP, “bad business.” [SJ Fact 65] Further, the cost and effort to do so

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     The savings analysis document also showed that the amount NorVergence allocated to services was
less than 15% of the consumer’s current charges and the amount for long distance and Internet was only
6% of current charges for the same services. To IFC, this should have looked too good to be true, given
that NorVergence was representing only 20-60% savings on services costs. To consumers it was far less
clear that the amount allocated to the rental agreement was intended by NorVergence and IFC to be
collected simply for rental of the Matrix equipment, and would be collected even if the consumers did not
receive services. [SJ Facts 33, 60]

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would have been negligible. For example, IFC knew that Adtran manufactured the Matrix and it
could easily have examined Adtran’s website or called the company. [SJ Facts 66, 67, 68] A
simple call to someone in the telecommunications business would also have revealed the truth
about the equipment – that it cost a fraction of what consumers were being charged in the rental
agreements, and did not do what NorVergence said it did. [SJ Facts 66, 67]
       IFC’s knowledge that NorVergence was promising telecommunications services in
exchange for payments on the equipment rental agreement is also demonstrated by the
confirmation call (dubbed a “verbal audit”) that IFC made to NorVergence consumers. [SJ Facts
77-80] The audit script confirmed the amount of the net monthly rental for the Matrix box and
stated that flat monthly cost “is protected for a 60-month term, producing the NorVergence
savings you were promised.” [SJ Fact 77] IFC knew that the flat monthly cost could only
produce the promised savings if NorVergence provided the promised services at the promised
price. [SJ Fact 82]
       Once it started acquiring rental agreements, IFC received substantial additional
information that consumers were signing the rental agreements only as part and parcel of a
program that would provide them with telecommunications services and that rental agreement
payments were predominantly for services. [SJ Facts 69-76, 81, 82] For example, one IFC
credit analyst explained that when, early on, many of the rental agreements did not include
personal guarantees, NorVergence told IFC that this was because consumers equated signing the
rental agreement with ordering phone service and they were not used to providing such
guarantees. [SJ Fact 35]
        Another fact pattern placed IFC on notice that the rental agreements were predominantly
for services. From the very beginning, IFC was aware of extreme price variations in the rental
contracts. [SJ Fact 69] If the payments were really for equipment, contract amounts for the
same piece of equipment would not vary widely. Although IFC’s John Estok has commented
that prudence requires an explanation for such disparities [SJ Fact 70], when IFC asked
NorVergence to explain, NorVergence answered that price disparities reflected differing
numbers of network cards provided in connection with each Matrix box or differing numbers of
boxes. [SJ Fact 71] IFC’s own records, however, showed different prices for boxes with the
same number of cards and higher prices for boxes with fewer cards. [SJ Fact 72] The only

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credible explanation for these variations was that different contracts called for the provision of
different services. Thus IFC knew or ignored clear evidence that the rental agreements
misrepresented the consideration that consumers expected in exchange for their payments.
         Contrary to IFC’s standard practice, IFC did nothing to disclose to consumers that they
were entering into transactions for which IFC intended to collect no matter what else happened.
[SJ Fact 78] In fact, the script it used for its “verbal audit” call to consumers, made by IFC
shortly after the equipment was delivered – but before it was connected and providing any
services – avoided statements and questions that might have communicated this to consumers.
[SJ Facts 77-79] IFC’s standard verbal audit, however, used in all of its other leasing
transactions, is designed to elicit information to ensure the consumer understands that the rental
agreement will require payment to IFC no matter what. [SJ Fact 78] That standard script
includes such questions as, “Are you aware that under this lease finance agreement . . . you must
make payments regardless of any problems or dissatisfaction you are having with the
equipment?” and “Are you confirming that you have no other agreements in place of any kind
for this equipment other than this lease agreement that we are now commencing?” [SJ Fact 78]
None of these statements is in the verbal audit IFC read to NorVergence consumers. [Compare
SJ Fact 77 to 78]9 Instead, as discussed earlier, the script repeats the NorVergence
misrepresentation that payment on the rental agreement will produce the promised five years of
telecommunications services savings. [SJ Fact 77]
                              The Worse it Got, the More They Bought
         Further, even as IFC was purchasing more NorVergence contracts, it was experiencing
unusually high rates of first-payment default and hearing many complaints from consumers who
resisted paying IFC because NorVergence was failing to deliver services. [SJ Fact 74]10 In
February 2004, such complaints and defaults were occurring on a “wholesale” scale. [SJ Fact

 9
   Had IFC asked such questions, it is likely that consumers would have tried to cancel the deal.
Consumers uniformly state that if they had known they were signing a contract for equipment only, that
could not be cancelled even if services were not being provided, they would not have agreed to the deal.
[SJ Fact 33]
 10
    The early default rate was even higher than IFC first knew, because NorVergence was secretly giving
some consumers the money to make their first payments. [SJ Fact 75] This tactic, discovered by IFC in
February 2004 and described by one IFC official as a practice that is viewed as fraud in the industry, did
not slow IFC’s purchases of NorVergence rental agreements at all. [SJ Facts 5, 76]

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74] By March 2004, IFC’s customer service manager described the complaint volume as
“alarming.” [SJ Fact 74] The complaints and default rates confirmed what IFC knew from the
beginning, that consumers expected services, not just equipment, for their rental payments. [SJ
Fact 54, 55, 56] Despite these clear indications of trouble, IFC continued to invest in
NorVergence’s deception.11 In fact, it bought more contracts in May 2004 than in any other
single month. [SJ Fact 5]
        Under these circumstances, IFC knew that the rental agreements were procured through
deception. The agreement falsely described the consideration for the agreement as limited to the
Matrix box when, in reality, it was only part of an overall set of documents signed by consumers
who were applying for an integrated package of services and equipment together. IFC was not
free to ignore the numerous red flags suggesting that the rental agreements were fraudulent. See
Rosenblum’s World of Judaica, Inc., v. IFC Credit Corp., No. 04 CH 18187, slip op. at 9 (Cir.
Ct. Cook County, County Dep’t, Ch. Div., Dec. 28, 2005) (denying motion to dismiss; holding
that IFC was not free of responsibility when warnings such as consumer complaints were
apparent) (attached for the Court’s convenience at PSJX 47).
                   Net Effects Show No Benefits to Consumers or Competition
        The countervailing benefits prong of the unfairness standard weighs whether the net
effects of a practice are positive or negative. American Fin. Servs. Ass’n., 767 F.2d at 975
(citing the FTC Unfairness Statement). Here the injury to unwitting consumers far outweighs
any potential benefits to competition from allowing IFC to profit from deceptive conduct. In
fact, allowing IFC to collect on these contracts would shield it from the risks it assumed when it
purchased the equipment rental agreements knowing that consumers had been induced to sign
them through deceptive omissions, misrepresentations, and outright lies. As was the case in
Orkin, 849 F.2d 1354, here IFC is attempting to unilaterally shift the costs of its bad business
decision to consumers. Allowing such conduct would encourage fraud and deception in the
marketplace, giving wrongdoers like NorVergence the ability to finance fraud simply by selling
contracts to investors who, blinded by greed, ignore the underlying deception. Indeed, that
happened here, where IFC’s financing of the deceptive scheme allowed NorVergence to

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    IFC did renegotiate its contract with NorVergence to increase the hold back percentage it deducted
from its payments to NorVergence. [SJ Fact 63]

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continue in business and deceive hundreds of additional consumers.12 Such sanctioning of
deception at the expense of consumers is a harm to competition, not a benefit that offsets the
consumer injury.
         Weighing the respective costs and benefits of the challenged practice also requires
looking at the various costs that a remedy would entail. American Fin. Servs. Ass’n, 767 F.2d at
975. As articulated by the Commission, “These include not only the costs to the parties . . ., but
also the burdens on society in general in the form of increased paperwork, increased regulatory
burdens on the flow of information, reduced incentives to innovation and capital formation, and
similar matters.” FTC Unfairness Statement, 1984 FTC LEXIS 2 at *307. See also Int’l
Harvester, 1984 FTC LEXIS 2 at *258, n. 59 (“What is important however is that we retain an
overall sense of the relationship between costs and benefits. We would not want to impose
compliance costs of millions of dollars in order to prevent a bruised elbow.”).
        Here, a finding that IFC’s practices were unfair will not impose additional costs on the
leasing industry. No new standard of care or due diligence requirements would be created –
knowingly investing in fraud and deception has never been an acceptable practice. Rather, IFC
need only have paid attention to and acted on information already in its possession. The
undisputed facts show that IFC’s evaluation of the NorVergence program conducted before
acquiring rental agreements provided IFC with ample notice that consumers were being deceived
and would have defenses to paying on the agreements if NorVergence failed to provide the
promised services. [SJ Facts 50-73] In the face of this information, IFC consciously chose not
to spend the minimal time and effort required to determine that the value and function of the
Matrix equipment was being misrepresented. [SJ Facts 64-68] IFC assessed the risk of
NorVergence’s failure and chose to take that risk because it wanted the opportunity for growth
and solid returns that partnering with NorVergence promised. [SJ Fact 51] Eventually,
NorVergence contracts accounted for half of IFC’s volume of business. [SJ Fact 52] Legitimate


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    IFC’s financial support of NorVergence’s fraudulent conduct not only caused additional consumer
injury, but also harmed competition generally by prolonging the unlevel playing field created by
NorVergence’s deception. That false or misleading advertising has an anticompetitive effect, as that term
is customarily used, has been long established. FTC v. California Dental Ass'n., 526 US 756, 771 n. 9
(1999), citing FTC v. Algoma Lumber Co., 291 U.S. 67, 79-80, 78 L. Ed. 655, 54 S. Ct. 315 (1934)
(finding a false advertisement to be unfair competition).

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practices in the finance industry will not be affected if this Court refuses to allow IFC to avoid
the financial consequences of a risk consciously taken by shifting the consequences of its
knowing choice to consumers already deceived by NorVergence. There are no countervailing
benefits to allowing IFC to purchase and collect on contracts it knew to be procured through
deception.
       Contract law considerations highlight that the policy against third parties knowingly
profiting from deception is not unique to unfairness claims under the FTC Act. Familiar contract
law principles echo that policy choice, refusing to provide favorable status to third parties who
take fraudulent contracts or who have knowledge of defenses. For example, holder in due course
protections are not afforded to third parties holding contracts obtained by fraud in the factum or
who take contracts in bad faith (i.e., with notice of defenses). See, e.g., 810 Ill. Comp. Stat. 5/9-
403(b). Thus, several courts have found that IFC cannot enforce its NorVergence contracts
because the contracts are void. See, e.g., IFC Credit Corp. v. Burton Indus., Inc., 2007 U.S.
Dist. LEXIS 46580 at *10-12 (N.D. Ill., June 25, 2007) (entering summary judgment for
defendants because the Court found that their contract with NorVergence was void and thus not
enforceable by IFC); Specialty Optical v. IFC Credit Corp., Cause No. 04-04187-C (Tex. Dallas
County Ct. at Law No. 3 heard on Feb. 8, 2006) (June 5, 2006) (NorVergence contract found to
be void and thus not enforceable by IFC) (attached for the court’s convince as PSJX 52). See
also IFC Credit Corp. v. United Bus. & Indust’l Fed. Credit Union, 512 F.3d at 994 (remanding
for bench trial, but noting that the jury previously found fraud in the factum that voided the
contract and prohibited IFC’s action). Other courts have refused to dismiss counterclaims
alleging fraud in the inducement because, if IFC took with knowledge of that defense, the
contract is voidable. See IFC Credit Corp. v. Aliano Bros, 2007 U.S. Dist. LEXIS 3595 at *7
(N.D. Ill., Jan. 12, 2007) (after remand, denying IFC’s motion to dismiss counterclaim because
defendants had adequately pled fraud; finding that “The Agreement is voidable by Aliano
Brothers as to IFC if IFC knew of NorVergence’s alleged fraud at the time of the assignment.”).
See also IFC v. United Bus. & Indust’l Fed. Credit Union, 474 F. Supp. 2d 956 (N.D. Ill.,
January 31, 2006) (denying IFC’s motion for summary judgment where genuine issue of fact




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existed as to whether IFC took with notice of a defense; noting that the contract’s “hell or high
water” clause and waiver of defenses clause would also falter with a showing of notice).13
  No Countervailing Benefits to Collecting on Contracts That Are Invalid Under State Law
        While the above discussion focuses on the lack of countervailing benefits relating to
IFC’s practice of accepting and collecting on contracts procured through deception, here, where
the contracts are invalid under state law, IFC’s practices serve no benefit whatsoever.14 Not only
is the harm to consumers magnified by unjustified legal actions, but there is no benefit to the
legitimate leasing industry or society as a whole in sanctioning collections on invalid contracts.
        IFC has argued here15 and in numerous collection actions that it is a holder in due course,
entitled to collect on the NorVergence contracts free of any defenses that the consumers might
have had against NorVergence.16 Illinois law defines a holder in due course as one who
        took the instrument (i) for value, (ii) in good faith, (iii) without notice that the
        instrument is overdue or has been dishonored or that there is an uncured default
        with respect to payment of another instrument issued as part of the same series,
        (iv) without notice that the instrument contains an unauthorized signature or has
        been altered, (v) without notice of any claim to the instrument described in
        Section 3-306 [810 ILCS 5/3-306], and (vi) without notice that any party has a




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    IFC officials themselves reflected the commonsense understanding that it is simply unfair to enforce
the rental agreements without installed service. As Collections VP Lee Herndon told others, “The idea
that we can enforce these contracts when service has not been fully installed is ludicrous. . . . Just
because the Matrix box has been fastened to the wall does not mean that our non-cancellable contracts are
enforceable. . . .” [SJ Fact 83; see also SJ Fact 34]
 14
    The FTC need not prove that state law prohibits IFC from enforcing individual NorVergence
contracts in order for the Court to find IFC’s practices unfair. It is enough to prove that IFC knew that the
contracts were procured through deception. Here, however, IFC’s collection practices are also unfair
because the state law contracts it seeks to enforce are not valid. Thus, a longer discussion of the state law
issues is necessary.
 15
    Although IFC has never answered the complaint, it did provide the FTC with a letter notice of
defenses, one of which included that IFC is a holder in due course.
 16
   As a threshold matter, the agreements are not enforceable under the provisions of Article 2A of the
UCC because NorVergence selected and supplied the equipment. See, e.g., 810 Ill. Comp. Stat. 5/2A-
103(g)(I) (LEXIS 2007).

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        defense or claim in recoupment stated in Section 3-305(a) [810 ILCS 5/3-305].
        810 ILCS 5/3-302.17

Where the holder took with notice of a defense, it did not do so in good faith and cannot assume
holder in due course protections. IFC v. United Bus. & Indust’l Fed. Credit Union, 474 F. Supp.
2d at 960-61 (N.D. Ill. January 31, 2006) (denying IFC’s motion for summary judgment where
question of fact remained as to whether IFC took the assignment with notice of a defense, and
was thus not entitled to assert holder in due course status).
        The holder in due course rule is not intended to protect parties who ignore apparent
warnings. Rather, it is intended to facilitate commercial transactions by eliminating complex
investigations of the nature of the drafting of an instrument or the consideration for which the
instrument was initially exchanged. See Rosenblum’s World of Judaica, No. 04 CH 18187, slip
op. at 13 (citing Kedzie & 103rd Currency Exch., Inc. v. Hodge, 156 Ill. 2d 112, 122 (1993))
(attached for the Court’s convenience at PSJX 47). A less-than-complex investigation of the
nature of the NorVergence agreements would have revealed to IFC the true circumstances
surrounding the agreements.
                                        Defenses Not Waived
        Because IFC had notice of consumer defenses, thus defeating holder in due course status,
it cannot rely on the waiver of defenses clause.18 Further, the leases are not unconditionally
enforceable under the “hell or high water” clause. Such clauses are only enforceable in the
absence of fraud and deceit. Rosenblum’s World of Judaica, No. 04 CH 18187, slip op. at 12
(noting, while denying an IFC motion to dismiss, that a claim of fraud or deceit that makes the
NorVergence Rental Agreements invalid would defeat the “hell or high water” clause) (attached
for the Court’s convenience at PSJX 47). See also Colorado Interstate Corp. v. CIT
Group/Equip. Fin., Inc., 993 F.2d 743, 749 (10th Cir. 1993) (“In the absence of fraud or deceit,
which is not claimed here, it is our view that under Texas law the parties should be held to their


 17
   The Commission looks to relevant Illinois law here, because that is the choice of law advocated by
IFC in its numerous contract enforcement actions. See, e.g., IFC v. United Bus. & Indust’l Fed. Credit
Union, 474 F. Supp. 2d at 959 (applying Illinois law).
 18
   See, e.g., 810 Ill. Comp. Stat. 5/9-403, Cmnt. 3 (LEXIS 2007) (principles applicable to holders in due
course of negotiable instruments also apply to holders in due course of debt assignments).

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agreement.”). Cf. Liberty Bank, F.S.B. v. Diamond Paint & Supply, Inc., 2006 WL 2691719,
slip op. at 2 (Iowa Ct. App., Sept. 21, 2006) (summary judgment enforcing waiver of defense
and hell or high water clauses in NorVergence agreements assumed by Liberty Bank; but noting
that fraud and unconscionability challenges to the agreements were not raised at trial and thus
not preserved on appeal).
The Rental Agreements Are Voidable Because IFC Took with Notice That the Contracts Were
                         Fraudulently Induced by NorVergence

        Here, the undisputed facts show that NorVergence committed fraud when it induced
consumers to sign the rental agreements. Under Illinois law, a claim for fraudulent inducement
requires:
        (1) a false statement of material fact; (2) defendant's knowledge that the statement
        was false; (3) defendant's intent that the statement induced plaintiff to act;
        (4) plaintiff's reliance upon the truth of the statement; and (5) plaintiff's damages
        resulting from reliance on the statement.

IFC v. Aliano Bros. Gen’l Contractors, Inc., 2007 U.S. Dist. LEXIS 3595 at *7-8 (N.D. Ill., Jan.
12, 2007) (on remand, denying IFC motion to dismiss counterclaims of fraud). See also Davis v.
G.N. Mortgage Corp., 396 F.3d 869, 881-82 (7th Cir. 2005). NorVergence made numerous false
statements of material fact, with knowledge of their falsity and with the intent of causing action.
The misrepresentations included:
!        that payment on the rental agreement and associated service agreements would result in
        the consumer receiving the promised discounted telecommunications services for a five
        year term [SJ Facts 8, 9, 12];
!       that NorVergence would treat the applications, forms, and rental agreement that
        consumers were signing as a unified agreement under which NorVergence would provide
        telecommunications services in exchange for consumers’ payments [SJ Facts 9, 22];
!        that the Matrix box would create the promised substantial savings in the consumers’
        total cost of telecommunications services even if NorVergence went away [SJ Facts 10,
        11]; and
!       that the rental agreement was a non-binding application and that signing it posed no risk
        to consumers [SJ Facts 22-28, 30].


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Through these misrepresentations, NorVergence caused consumers to sign the rental agreement,
among other documents. [SJ Facts 14, 33, 35] Consumers who relied on these representations
have not received the promised telecommunications savings, and have been sued by IFC. [SJ
Facts 6, 47, 84]19
        IFC had notice of NorVergence’s misrepresentations, but purchased the contracts
anyway. [SJ Facts 50-83]20 Under these circumstances, it did so in bad faith, and cannot assume
the mantle of holder in due course protections. Thus, IFC becomes an assignee of NorVergence,
subject to any defenses that would void the contract as to NorVergence. Here, because the rental
agreements were part and parcel of the services to be provided, when NorVergence stopped
delivering the promised services, the contracts failed. See Custom Data v. Preferred Capital,
274 Mich. App. 239, 244-47 (Mich. Ct. App. 2006) (in action against a different NorVergence
finance company, the court, upholding summary judgment for the consumer, found that the
NorVergence rental agreements were part of a total communications package that included
services, and affirmed the lower court finding that “since the services were not provided, the
whole contract fails”). Under these circumstances, the contracts are voidable.




 19
    Pre-contractual representations may be used to prove fraud in the inducement because evidence of
fraud outside the contract is admissible as an exception to the parol evidence rule. Faust Printing, Inc., v.
MAN Capital Corp., 2006 U.S. Dist. LEXIS 44140 at *24-25 (N.D. Ill. June 16, 2006).
 20
     See the discussion of IFC’s knowledge at pp. 14-18, supra. A person has notice of a fact under
Illinois law when he has actual knowledge of it, he has received a notice or notification of it, or “from all
the facts and circumstances known to him at the time in question he has reason to know that it exists.”
810 Ill. Comp. Stat. 5/1-201(25). “Notice, knowledge or a notice or notification received by an
organization is effective for a particular transaction from the time when it is brought to the attention of the
individual conducting that transaction, and in any event from the time when it would have been brought
to his attention if the organization had exercised due diligence.” 810 Ill. Comp. Stat. 5/1-201(27). Here,
IFC had the requisite notice. See In re Application of County Collector, 48 Ill. App. 3d 572, 588 (1977)
(purchaser of real property charged with notice of prior, unregistered claim was found not to be bona fide
purchaser because she had knowledge of facts which would put a reasonable person on inquiry, and was
therefore chargeable with knowledge of other facts which would have been discovered on diligent
inquiry); Winter & Hirsch v. Passarelli, 122 Ill. App. 2d 372, 378 (1970) (purchaser of note denied holder
in due course status after court found that purchaser intentionally kept itself in ignorance of certain facts
which, if known, would have destroyed holder in due course status). See also Hatton v. Money Lenders
& Assocs., Ltd., 127 Ill. App. 3d 577, 581 (1984) (absence of intentional maintenance of ignorance noted
when distinguishing case at issue from Passarelli).

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                    Fraud in the Factum Voids the NorVergence Contracts
       Even if IFC were found to be a holder in due course, under Illinois law the rental
agreements are void because they were obtained through fraud. Defenses available against a
holder in due course include:
       a defense of the obligor based on (i) infancy of the obligor to the extent it is a
       defense to a simple contract, (ii) duress, lack of legal capacity, or illegality of the
       transaction which, under the law, nullifies the obligation of the obligor, (iii) fraud
       that induced the obligor to sign the instrument with neither knowledge nor
       reasonable opportunity to learn of its character or its essential terms, or (iv)
       discharge of the obligor in insolvency proceedings. 810 ILCS 5/3-305(a)(1).

In discussing the fraud defense, the Illinois code (incorporating the comments of the UCC)
explains that:
       Subsection (a)(1)(iii) refers to "real" or "essential" fraud, sometimes called fraud
       in the essence or fraud in the factum, as effective against a holder in due course.
       The common illustration is that of the maker who is tricked into signing a note in
       the belief that it is merely a receipt or some other document. The theory of the
       defense is that the signature on the instrument is ineffective because the signer did
       not intend to sign such an instrument at all. Under this provision the defense
       extends to an instrument signed with knowledge that it is a negotiable instrument,
       but without knowledge of its essential terms. The test of defense is that of
       excusable ignorance of the contents of the writing signed. The party must not only
       have been in ignorance, but must also have had no reasonable opportunity to
       obtain knowledge. In determining what is a reasonable opportunity all relevant
       factors are to be taken into account, including intelligence, education, business
       experience, and ability to read or understand English of the signer. Also relevant
       is the nature of the representations that were made, whether the signer had good
       reason to rely on the representations or to have confidence in the person making
       them, the presence or absence of any third person who might read or explain the
       instrument to the signer, or any other possibility of obtaining independent
       information, and the apparent necessity, or lack of it, for acting without delay.

“Official Comment,” 810 Ill. Comp. Stat. 5/3-305 cmt. (1992). Fraud in the execution has been
described as deceiving a party to an agreement as to the very nature of the instrument he signs so
that the party actually does not know what he is signing, or does not intend to enter into a
contract at all. Fraud in the execution results in the agreement being void ab initio. Laborer’s
Pension Fund v. A&C Envtl., Inc., 301 F.3d 768, 779 (7th Cir. 2002).
       Here, oral misrepresentations combined with confusing statements in the documents
themselves tricked consumers into signing the equipment rental agreements. As the undisputed

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facts show, NorVergence salespeople routinely misrepresented to consumers that they were
merely signing a non-binding application, and that the paperwork was necessary “to reserve the
unlimited calling facilities with a nonbinding services and hardware application.” [SJ Fact 22]
Salespeople directed consumers not to read the documents or told consumers that the documents
must be signed or the deal would be lost. [SJ Fact 32] Even a consumer who read the
documents in the application package would have been confused by the claims in the “Non-
Binding Hardware Application” that the Equipment Rental Agreement was not binding or the
statements in the “Non-Binding Services Application” that “final consent of all parties” was
necessary to move forward. [SJ Facts 16, 17] Under these circumstances, consumers were
tricked into signing what they believed to be non-binding applications.21 They had no reason to
scrutinize the documents to the same degree that they might an immediately non-revocable,
binding contract, and no reason to mistrust the believable representations of the salespeople
concerning the nature of the documents that they were signing. [SJ Facts 33, 34, 35] Not only
were the documents not described as contracts, but because of the representations that the
consumer was signing up for a complete package of services and equipment, consumers did not
understand that the essential nature of the contract related only to equipment. [SJ Fact 33]
        At least two juries confronted with these facts have found the NorVergence contracts
void and denied enforcement by IFC on that ground. Specialty Optical v. IFC Credit Corp.,
Cause No. 04-04187-C (Tex. Dallas County Ct. at Law No. 3 heard on Feb. 8, 2006) (June 5,
2006) (NorVergence contract found to be void ab initio and thus not enforceable by IFC)
(attached for the court’s convince as PSJX 52); IFC Credit Corp. v. United Bus. & Indust’l Fed.
Credit Union, 512 F.3d 989, 994-95 (7th Cir. 2008) (remanding for new trial, but noting that the
jury had previously found fraud in the factum). See also IFC Credit Corp. v. Burton Indus., Inc.,
2007 U.S. Dist. LEXIS 46580 at *10-12 (N.D. Ill., June 25, 2007) (entering summary judgment
for defendants; finding that their contract with NorVergence was not valid because of no




 21
    The tactics used to obtain consumers’ signatures on the delivery and acceptance certificate were
similarly deceptive. Presented to consumers as nothing more than a routine delivery receipt, consumers
signed to agree that the Matrix box had been delivered, not that the box – which was not yet installed or
providing services – conformed to their expectations. [SJ Facts 39-42]

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satisfaction of a condition precedent, i.e., that the equipment was not installed, and that IFC
could not enforce an invalid contract).
       IFC has known that the equipment rental agreements were both voidable and void ab
initio for some time. It appears to be engaged in nothing more than a collections campaign
designed to bludgeon small businesses into paying debts they do not owe. Where, as here, a
practice produces clear adverse consequences for consumers that are not accompanied by an
increase in services or benefits to consumers or by benefits to competition, the injury to
consumers is not outweighed and the practice is unfair. Windward Mktg., 1997 U.S. Dist.
LEXIS 17114 at *32 (citing Orkin, 849 F.2d at 1365).
       B.       Filing in Distant Forum Unfair
       Count III of the FTC’s complaint alleges that, in these circumstances, where consumers
have valid defenses to the actions, and IFC knows it, IFC’s practice of filing lawsuits to collect
on equipment rental agreements in venues other than the consumer's place of business, the
location where the consumer executed the contract, or the residence of the individual guarantor,
causes or is likely to cause substantial injury that is not reasonably avoidable by consumers
themselves and not outweighed by countervailing benefits to consumers or competition. Thus,
the practice is unfair. The facts supporting this count are undisputed even while the legal
conclusions to be drawn remain contested. The issue is ripe for summary judgment.
               1.      Filing Suits in Distant Forums Causes Substantial Injury
       IFC has filed hundreds of collection suits in Illinois, a forum distant from nearly all the
consumers it has sued. [SJ Fact 84] Its practice of filing distant forum actions has caused
consumers substantial harm. [SJ Facts 85, 87] For those consumers who defend the suits, their
distance from the court greatly increases their costs. [SJ Fact 85] Neither they nor any of the
potential witnesses to the original transaction are in the court’s jurisdiction. [SJ Fact 85]
Compounding this harm, every consumer in this case has viable defenses and good reason to
refuse payment on the Rental Agreements. See pp. 21-27, supra. Worse still, all but one of the
collection suits were filed by IFC after the NorVergence bankruptcy, when IFC knew that no
consumer would ever receive the services for which they had contracted and that the consumers
had valid defenses to the collection action. [SJ Fact 86] Under such circumstances, IFC is
literally banking on obtaining default judgments or forcing settlements with consumers who

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make the rational economic choice to pay a settlement rather than pay to defend the action in a
distant forum. [SJ Fact 87]
                 2.       Injury Caused by Distant Forum Filings Not Avoidable
         Consumers could not reasonably have avoided the harm here. NorVergence assigned the
Rental Agreements to IFC without any advance notice to the consumer. Similarly, IFC’s
decision to sue in Illinois was beyond the consumer’s control or ability to negotiate, other than
hiring a lawyer in Illinois (after the fact) to seek a change of forum.
                 3.     Harm to Consumers Not Outweighed by Benefits to Competition
                        Under the Circumstances
         Finally, under these circumstances, the substantial injury to consumers caused by IFC’s
practice is not outweighed by benefits to consumers or competition. Finance companies such as
IFC do save costs by centralizing their litigation in a single forum (one of the reasons why in a
different circumstance the use of distant forum litigation might readily be found wholly
acceptable), but this benefit is dwarfed by the consumer harm here, where consumers with valid
defenses may be effectively precluded from raising them because of the additional costs imposed
by litigating in a distant forum. Because these contracts are legally void and voidable, the cost
savings to IFC of being able to sue in Illinois in order to obtain default judgments should not
properly be considered a countervailing benefit – it’s more akin to obtaining payments by
extortion.
                 4.       Distant Forum Collections Legally Unfair
         The unfairness of distant forum collection suits that impose undue costs on consumers is
well established. The Seventh Circuit unambiguously upheld the FTC’s finding that the use of
distant forum lawsuits was unfair under Section 5 of the FTC Act. Spiegel, Inc., v. FTC, 540
F.2d 287, 294 (7th Cir. 1976).22 Although the language of the Seventh Circuit decision focuses
on consumer transactions, the underlying Commission decision upheld by the court applied to
suits against small businesses as well as to suits against consumers.23


 22
       The Commission’s rationale included the costs of defending in a distant forum. Spiegel, 540 F.2d at
293.
 23
      As stated in the Initial Decision adopted by the full Commission, “A customer of a mail-order house,
be it an individual or a small company engaged in a one-state operation, is also more likely to be
unprepared to defend itself in a foreign forum than is a company . . . which transacts a substantial amount

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        Commission action against distant forum clauses is not precluded even where particular
distant forum clauses might be found enforceable in private contract actions. The legal analysis
finding that personal jurisdiction is properly invoked under state law is far different from the
analysis necessary for finding that a practice is unfair under the FTC Act. As the Seventh
Circuit observed, “[T]he Commission may find [the distant forum] practice to be unfair within
the meaning of Section 5 even though the same practice has repeatedly withstood attack in the
courts.” Spiegel, 540 F.2d at 294-95 (footnote omitted). Thus, the recent decision in IFC v.
Aliano Bros. Gen’l Contractors, Inc., 437 F.3d 606 (7th Cir. 2006), does not preclude a finding
that IFC’s practice of enforcing collection actions in distant forums, especially when it knows
that valid defenses exist that defeat the claim, is unfair under Section 5 of the FTC Act. In
Aliano, the Seventh Circuit found that the particular floating venue provision in the
NorVergence Equipment Rental Agreement validly conferred personal jurisdiction in a diversity
action under both Illinois and federal law unless Aliano could demonstrate it was “procured by
fraud” or otherwise invalid. Aliano Bros., 437 F.3d at 613. Cf. Preferred Capital, Inc., v.
Sarasota Kennel Club, Inc., 489 F.3d 303 (6th Cir. 2007) (finding that the floating venue
provision in NorVergence’s rental agreement was not enforceable where the Ohio Supreme
Court had previously held that such a clause violated state public policy).
        In addition to the different legal analysis applied under the FTC Act, as discussed above,
the undisputed facts show that the NorVergence equipment rental agreements were in fact
procured by fraud. Under such circumstances, the Aliano result is not controlling. Here, IFC’s
practice of filing distant forum collection suits, when it was abundantly clear that the rental
agreements had been procured through fraud and that valid defenses existed against IFC’s
claims, satisfies all three elements of the test for unfairness and violates the FTC Act.
        C.       IFC’s Deceptive Claims Violate Section 5
        Count I of the Complaint alleges that IFC made deceptive statements to consumers in
violation of Section 5 of the FTC Act, specifically including 1) that consumers have no defenses
or counterclaims against legal action by IFC and 2) that consumers defrauded IFC into paying


of interstate business.” In re Spiegel, Inc., 86 F.T.C. 425, 439, 1975 FTC LEXIS 107 at *14-15 (1975)
(citation omitted) (emphasis added); aff’d with minor changes not related to the quoted text, Spiegel, 540
F.2d at 295-97.

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NorVergence for the Rental Agreements. The facts supporting this count are not controverted –
IFC made these express representations and they were false – and as a legal matter, the FTC is
entitled to summary judgment.
        Misrepresentations that Consumers are Unconditionally Obligated to Pay IFC
       In letters sent to consumers and in telephone contacts with consumers, IFC has
represented that consumers are unconditionally obligated to pay on the equipment rental
agreements even when the consumers are no longer receiving the services necessary to render
the equipment useful. [SJ Fact 89] IFC has further told consumers that the consumers have no
defenses to IFC’s collection actions. [SJ Fact 90] These express claims were false and are
presumed material. Kraft, Inc., 970 F.2d at 322.
       In fact, consumers are not unconditionally obligated to pay on the NorVergence
contracts. Consumers have numerous defenses and counterclaims, arising both from the
NorVergence fraud and from IFC’s own misdeeds. Consumers have a legal right under the
contracts to assert defenses – including that IFC was not a holder in due course, that the waiver
of defenses clause is not enforceable, that defenses against NorVergence are also defenses
against IFC and thus the contracts are voidable, and that NorVergence committed fraud in
factum that voided the entire contract. See pp. 21-27, supra.
       Deceptive practices under Section 5 of the FTC Act include misrepresenting legal rights
to consumers. FTC v. Verity Int’l, Ltd., 335 F. Supp. 2d 479, 497 (S.D.N.Y. 2004), aff’d in part,
remanded on other grounds, 443 F.3d 48 (2d Cir. 2006) (upholding deception count but
remanding on calculation of damages). In Verity, the district court found that the defendants
violated Section 5 of the FTC Act because they falsely “represented to consumers that they were
legally obligated to pay for the Internet services provided by defendants' clients.” 335
F. Supp. 2d at 497. See also FTC v. Datacom Mktg. Inc., No. 06 C 2574, 2006 U.S. Dist. LEXIS
33029 at *13 (N.D. Ill., May 24, 2006) (in preliminary injunction order, FTC likely to prevail on
claim that falsely “threatening . . . potential legal action against consumers who challenged the
defendants’ claims for money” was deceptive). In another statute enforced by the Commission,
the Fair Debt Collection Practices Act (“FDCPA”), Congress made it a deceptive act for a debt
collector to “misrepresent the character, amount, or legal status of any debt . . . .” 15 U.S.C.
§ 1692e(2)(A). The FDCPA has been held to cover statements made in the course of litigation.

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Sayyed v. Wolpoff & Abramson, 485 F.3d 226 (4th Cir. 2007). IFC’s practice of telling
consumers that they are unconditionally obligated to pay on the worthless agreements is a false,
misleading, and deceptive practice under the FTC Act.
   False Statements That Consumers Misrepresented to IFC the Status of Their Equipment
       IFC also misrepresented to consumers that the consumers have to pay IFC because the
consumers defrauded IFC by signing the delivery and acceptance certificate. [SJ Fact 91] IFC
bases this representation solely on the facts that the consumers signed the delivery and
acceptance form and confirmed during IFC’s verbal audit that they had received the equipment,
thus causing IFC to pay NorVergence for the Rental Agreements. [SJ Fact 92] This
preposterous charge was made in a letter that IFC sent to consumers in June 2005 and even
included in some of IFC’s collections actions against consumers. [SJ Fact 91] While intent to
deceive is not a required element of proof under Section 5 of the FTC Act, these statements reek
of intentional falsity designed to coerce consumers into paying.
       In fact, both the delivery and acceptance certificate and the verbal audit were critical
components of NorVergence’s deception of consumers. [SJ Facts 39-42, 77-80] The delivery
and acceptance certificate was signed at the time that the Matrix box was delivered. At that
point it was never connected to the consumers’ phone system or a T-1 line and was not in any
way operational. [SJ Fact 39] As discussed above, the delivery person required the consumer to
sign for receipt of the package before he left, just as one regularly signs for packages received
from FedEx or UPS. [SJ Fact 41] There was no meeting to discuss the document, and no
explanation about the Matrix box or when service might be connected, just a quick “I need you
to sign this” from the delivery person. [SJ Fact 41] Under these circumstances it was wholly
implausible to expect the consumer to understand that the document might be imbued with any
legal significance beyond an agreement that the equipment had been delivered.
       The verbal audit, conducted by IFC shortly after the Matrix box was delivered, but long
before any services were connected, is similarly misleading. [SJ Fact 77] It asks only if the
consumer’s address is “the address where the equipment was delivered and mounted,” and then
promises that the monthly rental cost “is protected for a 60-month term, producing the
NorVergence savings that you were promised.” [SJ Fact 77] If questioned, the verifier was
supposed to say that they were only “confirming some basic information about the equipment

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rental.” IFC’s verbal audit was carefully crafted by NorVergence, and so used by IFC, to avoid
asking any questions that might indicate to consumers that they would have to pay for the Matrix
even if they did not receive the promised services. This audit script was materially different
from IFC’s standard verbal audit and, if anything, was designed to trick the consumer, not the
other way around. [SJ Facts 77, 78]
       IFC knew that most consumers had received no services from NorVergence at all, and
that not one consumer had service installed at the time that the equipment was delivered, the
delivery and acceptance certificate signed, and the verbal audit completed. [SJ Facts 39, 77]
IFC knew that there was no way that the consumers could assess the quality and performance of
the Matrix box itself because it was useless without the promised phone services. [SJ Facts 82,
83] IFC also knew that consumers were the true victims here, tricked into signing a contract that
misstated the consideration and purported to separate the consumers’ duty to pay for the
equipment from NorVergence’s duty to provide services, even though the promised deal was for
an interrelated package of both services and equipment that together would produce monthly
telecommunications savings. [SJ Facts 50-83]
       IFC’s representations that it relied on consumers’ statements, when it knew those
statements were obtained through trickery and deception, and were based on consumers’
incomplete understanding of their legal significance, are false. Such express claims are deemed
material. In re Southwest Sunsites, Inc., 105 F.T.C 7, 154 (1985) ("There can be no benefit to
society from the dissemination of misrepresentations that induce consumers to continue making
payments that they might very well have terminated if they had not been misinformed."). Thus,
IFC’s statements are material as a matter of law.
       IFC’s direct representations to consumers are deceptive and violate Section 5 of the FTC
Act. Summary judgment for the FTC should be granted on this count.
       D.      This Court Has the Authority to Impose the Requested Relief
       Section 13(b) of the FTC Act, 15 U.S.C. § 53(b) (1994), authorizes this Court to exercise
the full breadth of its equitable authority necessary to accomplish complete justice. FTC v. Amy
Travel Serv., Inc., 875 F.2d 564, 572 (7th Cir. 1989). That relief can include such injunctive
remedies as rescission of contracts and monetary restitution to consumers for losses resulting
from defendants’ unlawful conduct. See id. at 571-72. See also FTC v. Febre, 128 F.3d 530,

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536 (7th Cir. 1997); FTC v. Security Rare Coin & Bullion Corp., 931 F.2d 1312, 1316 (8th Cir.
1991); FTC v. Think Achievement Corp., 144 F. Supp. 2d 1013, 1019 (N.D. Ind. 2000), aff’d,
312 F.3d 259 (7th Cir. 2002).24
                 1.      Injunctive Relief
        Here the injunctive relief sought by the FTC is narrowly tailored to prohibit IFC from
engaging in conduct like that described here in other leasing deals and also to redress the injuries
suffered by consumers. Thus, the FTC requests that an order be entered that prohibits IFC from
misrepresenting to consumers:
!       the nature, terms, or predominant purpose of any finance agreement;
!       that the consumers have waived any defenses, or are precluded from raising any defenses
        or counterclaims, to defendant’s collection on any finance contract;
!       that consumers are obligated to pay defendant under any other theory of liability
        including but not limited to fraud or misrepresentation.
The FTC further requests that IFC be prohibited from taking any action to collect on a finance
contract when the information it possessed at the time it acquired the contract showed that:
!       the contract misstated the consideration to be received by the customer, including but not
        limited to statements that the consideration was only equipment when the consideration
        expected by the consumer included substantial services; or
!       there was a reasonable likelihood the contract was procured by deception.
Finally, the FTC requests that, when there is a reasonable likelihood a customer has a
nonfrivolous defense to payment on a finance contract, IFC be prohibited from filing a lawsuit to
collect on the contract in a county other than one in which the consumer has its principal place of
business or in which the consumer signed the contract sued upon or, in the case of a natural
person acting as guarantor for a business, the county of that person’s residence.


 24
    Defendants have previously suggested that the relief that this Court can impose is somehow
constrained by private settlements agreed-to by individual consumers on state contract law claims. The
short answer to that suggestion is that nothing could be further from the truth. The FTC is vindicating
public rights, not acting in a representative capacity, so its authority to obtain monetary equitable relief is
unaffected by private settlements. This Court is being asked to apply federal law to federal law questions.
For a longer answer, see the FTC’s Supplemental Memorandum Regarding Court's Equitable Authority to
Order Full Relief for All Consumers, filed on March 14, 2008. [Docket #122].

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        To remedy the non-monetary injury to consumers caused by IFC’s practices, the FTC
also requests that IFC:
!        cease all collections on NorVergence contracts, including dismissing with prejudice all
        pending lawsuits;
!        file satisfactions of judgment as to every judgment it has obtained against NorVergence
        consumers;
!        ensure all negative credit information about any debt owed to IFC as a result of the
        NorVergence rental agreements be removed from consumers’ credit reports; and
!        send notice to all NorVergence consumers describing the above relief.
               2.         Restitution
        A major purpose of the FTC Act is to protect consumers from economic injury. Febre,
128 F.3d at 536. Courts have regularly awarded, as equitable ancillary relief, the full amount
lost by consumers. Id. See also FTC v. Gem Merchandising Corp., 87 F.3d 466 (11th Cir. 1996)
(affirming an award of damages as calculated by consumers' losses). The proper measure of
restitution is the amount that will restore the victims to the status quo ante, not what the
defendants received. FTC v. Gill, 265 F.3d 944, 958 (9th Cir. 2001) (finding that the district
court properly used the amount consumers paid as the measure for the amount defendants should
be ordered to pay for their wrongdoing). This is true in cases brought under the FTC’s
unfairness authority as well as its deception authority. Windward Mktg., 1997 U.S. Dist. LEXIS
17114 at *44-45 (finding that the full amount lost by consumers was the appropriate equitable
remedy for defendants to pay; specifically rejecting the defendants’ argument that the monetary
relief ordered be limited to defendants’ profits). Under existing precedent, to redress the
substantial harm caused to consumers by IFC’s practices, IFC should be required to pay
restitution, measured as the full amount paid to them by consumers, more than $4 million. [SJ
Fact 94]
               3.         Reporting Requirements
        Finally, order provisions calling for monitoring, records retention, and reporting are
necessary to ensure compliance by defendants. Courts routinely include such provisions in
permanent injunctions issued under Section 13(b) of the FTC Act. See, e.g., FTC v.
SlimAmerica, Inc., 77 F. Supp. 2d 1263, 1276 (S.D. Fla. 1999) (record-keeping and monitoring

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provisions appropriate to allow FTC to police the defendants' compliance with the order); FTC v.
Alliance Commct’s, Inc., 1997-1 Trade Cas. (CCH) P 71,685 (S.D. N.Y. 1996) (same); FTC v.
Sharp, 782 F. Supp. 1445, 1456-57 (D. Nev. 1991) (monitoring).
V.     CONCLUSION
       For the above stated reasons, the FTC respectfully requests that summary judgment be
entered forthwith.


Dated: March 28, 2008                              Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I, Robert J. Schroeder, one of the attorneys for the FTC in this matter, hereby certify that
I will serve the appended motion upon the following counsel for Defendant IFC by filing the
motion electronically through the Court’s ECF system, which notifies each of them by email:

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and that I will send it directly by email to:

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and that I will take these steps no later than today, March 28, 2008.


                                                      s/ Robert J. Schroeder
                                                      _________________________________
                                                      ROBERT J. SCHROEDER




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